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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




   MARRIOTT INTERNATIONAL, INC.,

          Plaintiff,

   V.                                              Civil Action No. 1:21-cv-00610-AJT/JFA

   DYNASTY MARKETING GROUP, LLC,
   et al.,

         Defendants.



                                       CONSENT ORDER

        Plaintiff Marriott International, Inc. ("Marriott") and Defendant Rapid Eagle Inc. d/b/a

 VoIP Essential ("VoIP Essential," which shall include any affiliates thereof) (collectively,

 "Parties"), by counsel, submit this Consent Order for entry by the Court. Upon the stipulation of

 the Parties and agreement to the terms of a separate confidential settlement agreement supported

 by this Consent Order, and for good cause shown, it is hereby:


        ORDERED that VoIP Essential will: (1) not use Marriott's name and/or trademarks, as

 listed on Exhibit A hereto; (2) not knowingly or consciously avoid knowing that it is providing its

 services to any third party that it knows or should know engaged in the unauthorized use of

 Marriott's name and/or trademarks; (3) ensure that it does not obtain the benefit of others'

 unauthorized use of Marriott's name and/or trademarks upon learning of such unauthorized use or

 obtaining information indicative of such unauthorized use; (4) consistent with a mitigation plan

 approved by Marriott, take affirmative and effective measures to prevent new and renewing

 customers from using its network to originate calls using Marriott's name and/or trademarks; and


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  (5) within five (5) days of learning of others' use of Marriott's name and/or trademarks via VoIP

  Essential's services, will report any and all details related to such use of Marriott's name and/or

 trademarks to Marriott's counsel including, without limitation, all information concerning the

 originators of such uses; and it is further


         ORDERED that VoIP Essential will: (1) cooperate fully with Marriott in its prosecution

 of this case; and (2) provide assistance as requested by Marriott in its prosecution of this action,

 including but not limited to providing: (i) information and documents related to Marriott's

 allegations; (ii) full and complete responses and documents as requested in Marriott's written

 discovery; (iii) CDRs associated with calls originated by Dynasty Marketing Group LLC (whether

 provided by Rapid Eagle or its soft switch provider); (iv) communications regarding the calls; and

 (v) truthful testimony without subpoena ifrequested by Marriott; and it is further

         ORDERED that VoIP Essential will comply with a mitigation plan that has been approved

 by Marriott to prevent new and renewing customers from using its network to originate the

 offending calls using Marriott's name and/or trademarks; and it is further

         ORDERED that, for the purposes of enforcement of this Consent Order, for a period of

 three years from the entry of this Order, VoIP Essential confirms the jurisdiction of the Eastern

 District of Virginia and its enforcement powers (by contempt or otherwise) over this Order, and if

 VoIP Essential does not comply with this Order, as a measure of the actual and/or statutory

 damages that Marriott alleges it would be entitled to in the event of such non-compliance, VoIP

 Essential shall pay to Marriott liquidated damages in the amount of $25,000 for the first breach,

 $50,000 for the second breach, and $100,000 for each subsequent breach, each of which shall be

 payable to Marriott fourteen (14) days after this Court finds VoIP Essential in violation of this



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  Order upon motion or rule by Marriott and an opportunity for VoIP Essential to be heard; and it is

  further


            ORDERED that the claims in the Litigation against VoIP Essential shall be, and hereby

 are, dismissed with prejudice, subject to this Court's continuing jurisdiction to enforce the terms

 of this Consent Order.


            SO ORDERED this_ day of October, 2022.



                                                             The Honorable Anthony J. Trenga
                                                             United States District Judge



 AGREED:




  Attiso    . Bame , I (VA Bar No. 30458)               Jo~ VA Bar No. 88399)
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  Kevin G. Rupy (for pro hac vice)                       1519 Summit Ave., Suite 102
  Duane C. Pozza (for pro hac vice)                     Richmond, VA 23230
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  Counsel for Plaintiff
  Marriott International, Inc.




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   Order upon motion or rule by Marriott and an opportunity for VoIP Essential to be heard; and it

   is further


           ORDERED that the claims in the Litigation against VoIP Essential shall be, and hereby

   are, dismissed with prejudice, subject to this Court's continuing jurisdiction to enforce the terms

   of this Consent Order.


           SO ORDERED this          day of October, 2022.



                                                              The Honorable Anthony J. Trenga
                                                              United States District Judge



   AGREED:



    Attison L. Barnes, III (VA Bar No. 30458)            Joseph P. Bowser (VA Bar No. 88399)
    David E. Weslow (for pro hac vice)                   ROTH JACKSON
    Kevin G. Rupy (for pro hac vice)                      1519 Summit Ave., Suite 102
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    Counsel for Plaintiff
    Marriott International, Inc.




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